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                                                              July 20, 2024

    VIA ECF
    Honorable Rukhsanah L. Singh, U.S.M.J
    United States District Court
    Clarkson S. Fisher Building & US Courthouse
    402 East State Street
    Trenton, NJ 08608

              Re:       In re: Johnson & Johnson Talcum Powder Products, Marketing,
                        Sales Practices, and Products Liability Litigation
                        Case No.: 3:16-md-02738-MAS-RLS

    Dear Judge Singh:

           In preparation for the Rule 702 Motions to be filed on July 23, 2024, Plaintiffs
    have grouped many of the experts and arguments by topic into a lesser number of
    motions. Plaintiffs request permission for a total number of 450 briefing pages. This
    request is consented to by the Defendants and mirrors the request by Defendants
    filed on July 11, 2024.

                    Thank you for your courtesies in this regard.

                                                   Respectfully submitted,

                                   s/ P. Leigh O'Dell                  s/ Michelle A. Parfitt
                                   P. Leigh O'Dell                     Michelle A. Parfitt

                                               Plaintiffs’ Co-Lead Counsel

    cc:      Susan Sharko, Esq. (via email)
             All Counsel (via ECF)
